                                                                                             FILED
                                                                                           OPEN COURT




                    IN THE UNITED STATES DISTRICT COURT FOR TI E CLL"K U.S. DISTRICT COURT
                                                                                      AllXANDRIA. VIRGINIA
                              EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division


 UNITED STATES OF AMERICA

         V.                                             No. l:21-cr-27I


 MOHAMMED KHALIFA,

       a/k/a,

       Abu Ridwan Al-Kanadi
       Abu Muthanna Al-Muhajir

        Defendant.



                                      PLEA AGREEMENT


       Jessica D. Aber, United States Attorney for the Eastern District of Virginia; undersigned

counsel for the United States; the defendant, Mohammed Khalifa; and the defendant's counsel

have entered into an agreement pursuant to Rule 11 of the Federal Rules of Criminal Procedure.

The terms of this Plea Agreement are as follows:

        1.      Offenses and Maximum Penalties


       The defendant agrees to waive indictment and plead guilty to a single count criminal

Information charging the defendant with conspiring to provide material support to a foreign

terrorist organization, resulting in death, in violation of Title 18, United States Code, Section

2339B. The maximum penalties for this offense are life imprisonment, a fine of $250,000.00, a

special assessment pursuant to 18 U.S.C. § 3013, and a lifetime of supervised release. The

defendant understands that this supervised release term is in addition to any prison term the

defendant may receive, and that a violation of a term of supervised release could result in the

defendant being returned to prison for the full term of supervised release.
